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 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10                     (HONORABLE BARBARA LYNN MAJOR)
11   UNITED STATES OF AMERICA,              )      Case No.: 18CR1404-WQH (BLM)
                                            )
12                Plaintiff,                )      DEFENDANT’S MOTION FOR
                                            )      BAIL
13   v.                                     )
                                            )
14   VINCENT RAMOS,                         )      DATE: April 3, 2018
                                            )      TIME: 9:30 a.m.
15                Defendant.                )
                                            )
16

17 TO: ADAM BRAVERMAN, UNITED STATES ATTORNEY,
       BENJAMIN KATZ, SPECIAL ASSISTANT U.S. ATTORNEY,
18     MARK PLETCHER, ASSISTANT U.S. ATTORNEY, and
       ANDREW YOUNG, ASSISTANT U.S. ATTORNEY.
19

20         COMES NOW Defendant, Vincent Ramos, by and through his attorney,
21   Michael Pancer, and respectfully requests that this Court set a reasonable bail.
22          This motion is based upon the points and authorities filed herewith, the
23   Exhibits attached thereto, the files and records in the above-captioned matter, and
24   any and all other materials that may come to this Court's attention prior to or
25   during the hearing of this motion.
26   Dated: April 2, 2018                   Respectfully submitted,
27
                                            /s Michael Pancer
28                                          MICHAEL PANCER
                                            Attorney for VINCENT RAMOS
